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 6
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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00187 GEB

12                                Plaintiff,             STIPULATION AND PROPOSED ORDER TO
                                                         CONTINUE JUDGMENT AND SENTENCING
13                          v.                           HEARING

14   KARI SCATTAGLIA, et al.,

15                                Defendants.

16

17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorneys Todd A. Pickles and Rosanne L. Rust, and defendants Kari Scattaglia and Lisa Terraciano,

19 and by and through their counsel of record, hereby stipulate:

20          1.      On November 3, 2017, defendants pled guilty to the sole-count in the information and the

21 matter was referred to the Probation Office for preparation of a pretrial investigation report. By prior

22 order, the matter was set for a judgment and sentencing hearing on October 5, 2018 at 9:00 a.m.

23          2.      Trial has now been set in the related case United States v. Jagpal Singh, et al., 2:17-cr-

24 210 GEB for April 2019. Accordingly, by this stipulation, the parties jointly request that this Court

25 continue the judgment and sentencing hearing until May 10, 2019.

26          3.      Because the defendants have pleaded guilty, the provisions of the Speedy Trial Act do

27 not apply to this request.

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      STIPULATION AND PROPOSED ORDER RE:                  1
30    CONTINUANCE OF JUDGMENT AND SENTENCING
                 Case 2:17-cr-00187-KJM Document 55 Filed 10/02/18 Page 2 of 3

 1          4.      Additionally, defendants each expressly agree that they will appear before the Court on

 2 the date of May 10, 2019 and acknowledge that their failure to appear on that date may result in their

 3 immediate incarceration, that the United States may file additional charges for their failure to appear,

 4 which could result in a sentence of up to 10 years imprisonment in addition to the sentence imposed in

 5 this case, and that any failure to appear may jeopardize any motion for downward departure under

 6 U.S.S.G. § 5K1.1 that the United States might file based on any substantial assistance provided to the

 7 prosecution to date.

 8          5.      Counsel for the defense agree that they will provide a copy of the stipulation and the

 9 Court’s order to their clients.

10          IT IS SO STIPULATED AND REQUESTED.

11   Dated: September 28, 2018                               MCGREGOR W. SCOTT
                                                             United States Attorney
12
                                                      By: /s/ Todd A. Pickles
13                                                        TODD A. PICKLES
                                                          ROSANNE L. RUST
14                                                        Assistant United States Attorneys
15   Dated: September 28, 2018                            /s/ William Kroger (as approved
                                                      By: 9/28/2018)
16                                                        WILLIAM KROGER, Esq.
17                                                           Counsel for defendant Kari Scattaglia
18
     Dated: September 28, 2018                            /s/ Christopher Cosca (as approved
19                                                    By: 9/28/2018)
                                                          CHRISTOPHER COSCA, Esq.
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                                                             Counsel for defendant Lisa Terraciano
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      STIPULATION AND PROPOSED ORDER RE:                 2
30    CONTINUANCE OF JUDGMENT AND SENTENCING
              Case 2:17-cr-00187-KJM Document 55 Filed 10/02/18 Page 3 of 3

 1                                         FINDINGS AND ORDER

 2          The Court hereby continues the judgment and sentencing hearing to May 10, 2019 at 9:00 a.m.

 3 All dates previously set for the preparation of the Presentence Investigation Report and for the filing of

 4 documents with the Court are reset consistent with judgment and hearing date of May 10, 2019.

 5          Each of the defendants is ordered to appear on May 10, 2019.

 6          IT IS SO FOUND AND ORDERED.

 7          Dated: October 2, 2018

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      STIPULATION AND PROPOSED ORDER RE:                 3
30    CONTINUANCE OF JUDGMENT AND SENTENCING
